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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7    JOSEPH S. PIGOTT,

 8                                  Plaintiff,               CASE NO. C19-1489-RSM

 9           v.
                                                             MINUTE ORDER
10    HEATHER WINSLOW BARR, et al.,

11                                  Defendants.

12
            The following Minute Order is made at the direction of the Court, the Hon. Mary Alice
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     Theiler, United States Magistrate Judge:
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            Plaintiff’s application to proceed in forma pauperis (IFP) (Dkt. 1) is deficient. He indicates
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     no income or sources of money and expenses of $100.00 per month for his car. Plaintiff must
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     submit a revised IFP application within twenty (20) days of the date of this Order. The revised
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     application must explain how plaintiff meets all basic monthly expenses, including food, shelter,
18
     transportation, and utilities. Failure to comply may result in denial of IFP and/or dismissal.
19
            DATED this 2nd day of October, 2019.
20
                                           WILLIAM M. MCCOOL, Clerk
21
                                                 By:   s/ Paula McNabb
22                                                      Deputy Clerk

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     MINUTE ORDER
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